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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 1:25-MJ-2303-ELFENBEIN


 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

 LUIS ENRIQUE VELIZ RIERA,

       Defendant.
 ________________________________________/

                               PRETRIAL DETENTION ORDER

        On March 3, 2025, the parties appeared before the Court for a hearing to determine whether

 Defendant Luis Enrique Veliz Riera should be detained prior to trial under 18 U.S.C. § 3142,

 commonly known as the Bail Reform Act of 1984. Assistant United States Attorney Kseniya

 Smychkouskaya appeared on behalf of the Government. Attorney Omar Lopez appeared on behalf

 of Defendant, who was also present. The hearing was translated to Defendant by the Court’s

 Spanish interpreter. Defendant indicated that he was able to understand what was being said to

 him throughout the hearing.

        With the advice of counsel, Defendant knowingly and voluntarily waived his right to a

 bond hearing at this time and stipulated to pretrial detention, reserving the right to request a bond

 hearing in the future. Consequently, no bond hearing was held, no evidence was presented, no

 witnesses were called, and no bond was given. Having considered the Indictment, the Pretrial

 Services Report, and the factors enumerated in 18 U.S.C. § 3142(g), the Court accepts Defendant’s

 stipulation to detention.
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        Accordingly, it is hereby ORDERED that Defendant Luis Enrique Veliz Riera be detained

 pending trial and until the conclusion thereof. This Order is without prejudice to Defendant

 seeking a bond hearing at a subsequent date. Defendant must be remanded to the custody of the

 United States Marshals. The Court directs that Defendant be afforded reasonable opportunity for

 private consultation with counsel. On order of a court of the United States or on request of an

 attorney for the Government, the person in charge of the corrections facility in which Defendant

 is confined shall deliver Defendant to a United States Marshal for the purpose of an appearance in

 connection with a court proceeding.

        DONE AND ORDERED in Chambers at Miami, Florida, this 3rd day of March, 2025.




                                                      ___________________________________
                                                      ENJOLIQUÉ LETT
                                                      UNITED STATES MAGISTRATE JUDGE




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